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 8    *See Signature Page for Complete List of       Counsel for all Plaintiffs*
      Plaintiffs
 9
                                                     **Application for Admission Pro Hac Vice
10                                                   Pending

11
                                UNITED STATES DISTRICT COURT
12                            NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
13

14
     CARLOS DADA, SERGIO ARAUZ,                         Case No. __________
15   GABRIELA CÁCERES GUTIÉRREZ, JULIA
     GAVARRETE, ROMAN GRESSIER,                         DISCLOSURE OF CONFLICTS AND
16   GABRIEL LABRADOR, ANA BEATRIZ                      INTERESTED ENTITIES OR
     LAZO ESCOBAR, EFREN LEMUS,                         PERSONS PURSUANT
17   CARLOS MARTÍNEZ, ÓSCAR MARTÍNEZ,                   TO L.R. 3-15
18   MARÍA LUZ NÓCHEZ, VÍCTOR PEÑA,
     NELSON RAUDA ZABLAH, MAURICIO
19   SANDOVAL SORIANO, and JOSÉ LUIS
     SANZ,
20
                     Plaintiffs,
21
            v.
22

23   NSO GROUP TECHNOLOGIES LIMITED
     and Q CYBER TECHNOLOGIES LIMITED,
24
                     Defendants.
25

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                                                 1
                Case 3:22-cv-07513-JD Document 13 Filed 11/30/22 Page 2 of 2




 1          Pursuant to Civil L.R. 3-15, the undersigned certify that as of this date, there is no

 2   conflict or interest (other than the named parties) to report.

 3    DATED: November 30, 2022                          Respectfully submitted,
 4
                                                        /s/ Paul Hoffman
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                                                        /s/ Carrie DeCell
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                                                        Carrie DeCell**
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                                                         Lemus, Carlos Martínez, Óscar Martínez,
21                                                       María Luz Nóchez, Víctor Peña, Nelson
                                                         Rauda Zablah, Mauricio Sandoval Soriano,
22                                                       and José Luis Sanz
23
                                                        **Application for Admission Pro Hac Vice
24                                                       Pending

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